              Case 2:07-cr-00248-WBS Document 244 Filed 04/30/08 Page 1 of 2


 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
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 3   916-447-1193
 4   Attorney for Defendant
     BISMARK MARTIN OCAMPO
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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA, )                  No. CR-S-07-248 WBS
                                   )
13                                 )              STIPULATION AND ORDER
                       Plaintiff,  )              CONTINUING STATUS
14                                 )              CONFERENCE
           v.                      )
15                                 )
     BISMARK MARTIN OCAMPO, )
16                                 )
                       Defendant,  )
17                                 )
     ______________________________)
18
19                  It is hereby stipulated and agreed to between Bismark Martin Ocampo through
20   counsel Dwight M. Samuel and United States of America, by and through, Assistant United
21   States Attorney, that the status conference presently set for Monday, April 28, 2008 at 10:30 a.m.
22   be vacated and rescheduled for a status conference on Monday, June 30, 2008, at 10:30 a.m.
23          Counsel for Defendant Ocampo has consulted with his client and advises the court and
24   AUSA that Mr. Ocampo does not want to go to trial on the jury trial date as presently set.
25   Counsel for Ocampo requests the court permit this statement to be on the record at the next
26   scheduled appearance of June 30, 2008, or if the court deems an earlier declaration is necessary
27   counsel will lodged that declaration with the court.
28          As further justification for continuance, counsel for defendant calendered the April
              Case 2:07-cr-00248-WBS Document 244 Filed 04/30/08 Page 2 of 2


 1   28,2008 date properly but failed to note the requirement of his appearance. Due to counsel’s
 2   failure to note the court’s order, likely due to counsel dealing with a death in the family, counsel
 3   rescheduled an investigative trip, which had previously been cancelled, to Texas and Florida..
 4   The investigation in the case of U.S. v Mann 07-229 also involves participation of Federal Public
 5   Defender, Matt Bockman, and two investigators, the trip is scheduled to begin Saturday, April 26
 6   through Wednesday, April 30, 2008.
 7          It is further stipulated that the period from April 28, 2008, through and including June 30,
 8   2008 be excluded in computing the time within which trial must commence under the Speedy
 9   Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T-4 for continuity and
10   preparation of counsel.
11
12   Respectfully submitted,
13
14   Dated: April 24, 2008
15                                                         /s/ Dwight M. Samuel
                                                           DWIGHT M. SAMUEL
16                                                         Attorney for Defendant, Bismark Ocampo
17   Dated: April 24, 2008
18
19                                                         /s/Jason Hitt
                                                           JASON HITT
20                                                         Assistant United States Attorney
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22
     IT IS SO ORDERED.
23
     Dated: April 29, 2008
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27
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